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     Federal Public Defender
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     Assistant Federal Public Defender
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 4   Telephone: (408) 291-7753

 5   Counsel for Defendant FITZGERALD

 6
                              IN THE UNITED STATES DISTRICT COURT
 7
                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
 8
                                             SAN JOSE DIVISION              *E-FILED - 5/19/06*
 9
     UNITED STATES OF AMERICA,                     )       No. CR 06-0074 RMW
10                                                 )
                            Plaintiff,             )       STIPULATION TO CONTINUE
11                                                 )       HEARING DATE AND EXCLUDE
     v.                                            )       TIME; ORDER
12                                                 )
     JAMES FITZGERALD,                             )
13                                                 )
                       Defendant.                  )
14   _____________________________________

15          Defendant and the government, through their respective counsel, hereby stipulate that,

16   subject to the Court’s approval, the hearing date in this matter should be moved from May 15 to

17   June 12, 2006, at 9:00 a.m., or as soon thereafter as the hearing may be set. The defense requests

18   the continuance because defense is continuing to review discovery and conduct investigation, and

19   has requested additional information from government counsel that should be provided shortly.

20          The parties further agree that time should be excluded under the Speedy Trial Act in light

21   of the need for defense preparation, and because the ends of justice outweigh the defendant’s and

22   the public’s need for a speedy trial.

23   Dated: 5/11/06                                         _______/s/_____________________
                                                            LARA S. VINNARD
24                                                          Assistant Federal Public Defender

25   Dated: 5/11/06                                         ______/s/______________________
                                                            SUSAN KNIGHT
26                                                          Assistant United States Attorney

     STIPULATION TO CONTINUE HEARING
     DAT E AN D EX CL UD E T IM E
     No. C R 0 6-0 07 4 RM W                           1
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 6
                             IN THE UNITED STATES DISTRICT COURT
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                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
 8
                                          SAN JOSE DIVISION
 9
     UNITED STATES OF AMERICA,             )              No. CR 06-0074 RMW
10                                         )
                       Plaintiff,          )              ORDER CONTINUING
11                                         )              HEARING AND EXCLUDING TIME
     v.                                    )
12                                         )
     JAMES FITZGERALD,                     )
13                                         )
                       Defendant.          )
14   _____________________________________ )

15
            The parties have stipulated to continue the hearing date in this matter on grounds that the
16
     defense requires additional time for preparation and investigation, and is awaiting additional
17
     information from the government. The parties request that the hearing be continued from May
18
     15 to June 12, 2006, at 9:00 a.m.
19
            GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that the hearing date in this
20
     matter is continued to June 12, 2006, at 9:00 a.m.
21
            Pursuant to the parties’ stipulation, IT IS FURTHER ORDERED that the period of time
22
     from May 15, 2006 to June 12, 2006, be excluded from the period of time within which trial
23
     must commence under the Speedy Trial Act, 18 U.S.C. § 3161 et seq.
24
            IT IS SO ORDERED.
25
     Dated: 5/19/06                                            /s/ Ronald M. Whyte
                                                              __________________________________
26                                                            RONALD M. WHYTE
                                                              United States District Judge
     ORDER CONTINUING HEARING
     No. CR 06-0074 RMW                                   2
